IN THE MATTER OF THE SEARCH OF Case No. 1:17-MJ-94
THE RESIDENCE OF DARRELL
ARMSTRONG, AKA “DIESEL,” WHICH IS
LOCATED AT 1414 MEADOWLARK LANE
CHATTANOOGA, TN. .

Filed Under Seal

 

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

This Affiant, Adam Baldwin, Special Agent, Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF), being duly sworn, states the following:

INTRODUCTION AND AGENT BACKGROUND

1. I, Adam Baldwin, am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms,
and Explosives (ATF), and have been so employed since August 2014. In addition to my
employment with ATF, I have over three years of law enforcement experience with the
Pentagon Force Protection Agency (PFPA). During my tenure with PFPA, I served two years
as a police officer in multiple capacities, to include patrol, surveillance detection, and as a
law enforcement liaison to the Director of PFPA. I additionally served approximately one
year as a special agent with PFPA, conducting complex criminal and protective intelligence
investigations, as well as conducting domestic and international protective missions. I am a
graduate of the Federal Law Enforcement Training Center (FLETC) Uniformed Police
Training Program (UPTP), Criminal Investigator Training Program (CITP), and the ATF

Special Agent Basic Training (SABT) Program. I have received specialized training with

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respect to narcotics and firearms violations and have been involved in numerous
investigations involving violent crimes and the seizure of firearms and controlled substances.
I also have a Bachelor of Science in Criminal Justice from East Tennessee State University
and a Master of Science in Criminal Justice from The University of Tennessee at
Chattanooga.

This affidavit is submitted in support of an application for a search and seizure warrant of
the residence and premises located at the following location: 1414 Meadowlark Lane
Chattanooga, Tennessee, the residence known by your Affiant to belong to Darrell
ARMSTRONG, AKA “Diesel.” The information contained in this affidavit has been
obtained through observations by your Affiant, interviews with fellow law enforcement
officers, and an ATF Confidential Informant (CI) throughout the course of this investigation.
Not every fact known to your Affiant regarding the case has been included in the affidavit.
Your Affiant has only included information and facts needed for the court to make a finding

of probable cause.

Based upon your Affiant’s training and experience and participation in investigations
involving controlled substances, your Affiant knows that when controlled substances are
illegally used, manufactured, and trafficked, other supporting items and materials are usually
present in addition to the controlled substances themselves. These supporting items
commonly associated with the use of and trafficking of controlled substances include, but are
not limited to: drug paraphernalia, scales, and packaging materials suitable for particular

substance(s), records and notes (including computer and electronically stored) of controlled

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substance transactions, money (proceeds of or capital for controlled substance(s)
transactions), firearms kept for protection, stolen property (often traded for controlled
substances), electronic devices suitable for use in controlled substance transactions,

recordings of such transactions, or electronic devices suitable for avoiding law enforcement.

It is also common for traffickers of these substances to use electronic communication
devices such as cellular telephones, pagers, both numeric and two-way, and computers so
that they can conduct their business at virtually any time without unnecessary delay. Your
Affiant knows that these devices are usually found on or in very close proximity to these
persons and that such electronic devices are capable of storing information such as phone
numbers and/or coded messages which may lead to the identity of codefendants,
coconspirators, and/or sources of supply. Cellular phones, phone records, device purchase
agreements and other related documents related to the ownership are normally kept at their
businesses, and/or places of operation. It is also common for them keep their electronic
communication devices and cellular telephones in close proximity to themselves, on their
person, in their vehicles, or at their business or place of operation. Cellular telephones, in
addition to being communication devices, are also storage devices for data. Data
electronically stored inside cellular telephones include telephone numbers of associates, logs
of the date and time that individual calls were made, voice and text messages from associates
and photographs of the primary user, family members and associates, location information,
internet browsing history, calendar entries, task lists, contact information, and other similar

data. The data inside cellular telephones is evidence of such sales activity, demonstrates true

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ownership and control of the telephones, which can be registered to another person, and can
be effectively used to corroborate the statements of witnesses. With the advent of “smart
phones” all of the documents and information discussed within this section can be held on a
smart phone in electronic format as well.

Based upon training and experience in conducting investigations involving controlled
substances, your Affiant also knows that drug dealers, while utilizing electronic
communication devices to conduct their business, will often use “slang,” or “code words”
when referring to their business activities. These code words may include reference to, but
are not limited to, money, narcotics, other co-conspirators, and certain locations. Drug
dealers use these code words in an attempt to conceal their illegal activities from law
enforcement in an effort to avoid detection. Your Affiant is also aware that specific slang and
code words utilized by those trafficking in controlled substances may be influenced by
various factors such as geographical area, cultural influences, and the type of controlled
substance being trafficked.

In your Affiant’s training and experience, users of and traffickers in controlled
substances, when hiding or transporting controlled substances or cash, commonly conceal
them in several separate “stashes,” often in several rooms of a building, outbuilding,
vehicles, and in public or common areas which can be kept under their observation. Narcotics

traffickers will also often place assets in names other than their own to conceal their assets

from law enforcement.

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Your affiant is aware that narcotics traffickers sometimes utilize multiple “stash
locations” in an attempt to keep large quantities of controlled substances separate. Based on
your Affiant’s training and experience, your Affiant knows this to be done so that law
enforcement cannot seize all of the controlled substance at one time if law enforcement is
alerted to the location of a single “stash location.” This is also done in an attempt to secrete
controlled substances from non-law enforcement personnel in an attempt minimize the
potential of a robbery by individuals seeking to take possession of controlled substances

during armed robberies, home invasions, or routine thefts.

It has also been your Affiant’s training and experience that those who use or traffic in
controlled substances, especially when law enforcement appears, will attempt to physically
separate themselves from the controlled substances. They often do this by placing a
controlled substance in a “neutral” location. They often employ intermediaries as couriers
and drivers, to store drugs or conduct transactions. These intermediaries often include
associates, but may also be extended to women, juveniles, or older people. Traffickers will
use these individuals to transport controlled substances or otherwise assist the operation.
These “mules” (as they are sometimes called) hold or transport the controlled substances or
cash, allowing the dealer to stay “clean.” Traffickers will also often “hand off” incriminating
evidence to another person if confronted by law enforcement. In sum, these methods are used

to attempt to insulate traffickers from risk of detection and apprehension by law enforcement.

Based upon your Affiant’s training and experience and the facts as set forth in this

affidavit, there is probable cause to believe that violations of Title 21 USC §§ 841(a)(1) and

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846 have been committed by Darrell ARMSTRONG, AKA “Diesel,” and known and

unknown co-conspirators.

PROBABLE CAUSE

Your Affiant is currently participating in an investigation involving illegal drug
trafficking in the Eastern District of Tennessee. An investigation conducted by the ATF and
the Chattanooga Police Department (CPD) has identified Darrell ARMSTRONG, AKA
“Diesel,” (hereinafter referred to as ARMSTRONG) as being responsible for the distribution
of large quantities of powder cocaine, cocaine base, and marijuana throughout the
Chattanooga, Tennessee area. The investigation was initiated by the development of
information given by an ATF CI. The CI has previously provided reliable information
regarding individuals selling narcotics. The CI has also provided information regarding
criminal activity to include individuals selling narcotics, which has been independently
corroborated by other agents/officers as accurate. At least one arrest has been made based on
the CI’s information, and several search warrants have been procured on the CI’s information

as well. Accordingly, your Affiant submits that the CI has proven reliable.

In October 2016, the CI provided ATF special agents with information that
ARMSTRONG frequently sold powder cocaine, cocaine base (crack), and marijuana
throughout Chattanooga, Tennessee. According to the Cl, ARMSTRONG primarily stored
and sold the narcotics from his residence, located at 3900 6" Avenue Chattanooga,
Tennessee. The CI stated that he/she has been present when ARMSTRONG sold narcotics,

has purchased narcotics from ARMSTRONG, and that ARMSTRONG was known to

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associate with and supply street gang members throughout the Chattanooga, Tennessee, area
with narcotics. Affiant is aware that Armstrong is a validated member of the Athens Park
Bloods street gang. The CI also-made monitored telephone communications with

ARMSTRONG to arrange drug transactions.

Between October 2016 and December 2016, the CI made at least six controlled buys
from ARMSTRONG of either powder cocaine or cocaine base (crack) from inside
ARMSTRONG’s residence, located at 3900 6" Avenue Chattanooga, Tennessee. During

each controlled purchase, the following controls were put in place:

a. Prior to each controlled purchase, under the direction and control of your A ffiant, the
CI met with your Affiant at a pre-determined location and was physically checked or
searched by your Affiant or another law enforcement officer for any type of

contraband.

b. The CI was provided with official government funds to purchase narcotics from

ARMSTRONG.

c. The CI was outfitted with an audio listening device, which was monitored by your

Affiant during each controlled purchase.

d. Law enforcement maintained a constant visual of the CI and his/her vehicle from the

pre-buy location to ARMSTRONG’s residence for each narcotics purchase.

e. Following each controlled purchase, the CI was surveilled by your Affiant and law

enforcement assisting with the operation to a pre-determined location, where law

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enforcement immediately retrieved narcotics and the audio listening device from the

CI.

f. A constant visual of the CI was maintained at all times other than when the CI was in
ARMSTRONG’S residence. The CI was additionally searched or checked for
contraband by your Affiant or another law enforcement officer following each

controlled purchase.

In January 2017, the CI provided your Affiant with information that ARMSTRONG had
moved and that ARMSTRONG’s new residence was located at 1414 Meadowlark Lane
Chattanooga, Tennessee. According to the CI, he/she had recently been to ARMSTRONG’s
residence shortly after ARMSTRONG had moved in, and ARMSTRONG was continuing to

store narcotics, primarily large quantities of marijuana, in his residence.

Based on the information provided by the CI, between January 2017 and March 2017,
your Affiant conducted surveillance at 1414 Meadowlark Lane. During surveillance, your
Affiant frequently observed a silver Nissan sedan, as well as a 2005 Chrysler 300, Tennessee
Tag W10-06L, parked in the driveway of the residence. Based on surveillance and CI
information, Affiant knows that the Chrysler 300 belongs to ARMSTRONG. The vehicle
has been used by ARMSTRONG to conduct additional controlled sales of narcotics to the CI
(which did not occur at ARMSTRONG’s residence). While conducting surveillance at 1414
Meadowlark Lane, law enforcement observed ARMSTRONG coming and going from the

residence at various times throughout the day and night, as well as driving the Nissan sedan

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in addition to the Chrysler 300. Both vehicles were frequently parked at the residence late at

night and early in the morning.

In March 2017, at the direction of Affiant, the CI made a controlled purchase of a resale
amount of marijuana from ARMSTRONG from inside 1414 Meadowlark Lane. During the

controlled buy, all aforementioned controls with the CI were in place.

Within the past week, the CI made an additional controlled purchase for a resale amount
of marijuana from ARMSTRONG. During the operation, the CI met ARMSTRONG at a
predetermined location for the narcotics purchase. Once at the meeting location, the CI
provided ARMSTRONG with marked official government funds to purchase the marijuana.
ARMSTRONG was observed driving a Nissan sedan, Tennessee Tag 834-RDP, to the
controlled purchase. The vehicle matched the description of the same Nissan sedan
previously observed by your Affiant driven by ARMSTRONG, as well as frequently parked
at ARMSTRONG ’s residence. All aforementioned controls with the CI were in place during

the operation.

Following the controlled purchase, the CI stated that ARMSTRONG had additional
marijuana with him that he was willing to sell. A review of the audio of the controlled

purchase corroborated the Cl’s statements.

Within the past 96 hours, the CI provided your Affiant with information that he/she had
received information that ARMSTRONG and an unknown associate had conducted an armed

home invasion in the Chattanooga, Tennessee area, and that ARMSTRONG and his

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unknown associate had stolen narcotics and a large sum of cash. According to the CI, the

armed home invasion occurred within the past 96 hours as well.

The CI further stated that within the past 72 hours, he/she went to ARMSTRONG’s
residence located at 1414 Meadowlark Lane. While at the residence, the CI stated that he/she
observed ARMSTRONG selling marijuana to multiple people from inside the residence. The
CI additionally stated that he/she observed ARMSTRONG in possession of what he/she
estimated to be a “couple” pounds of marijuana inside the residence in addition to the
marijuana the CI] observed ARMSTRONG selling, as well as several stacks of what the CI

described as a large sum of cash.

WHEREFORE, based upon the facts detailed above, together with your Affiant’s training
and experience in drug trafficking investigations, your Affiant believes and submits there is
probable cause to believe that the premises located at 1414 Meadowlark Lane Chattanooga,
Tennessee,, including the residence, outbuildings, vehicles, and curtilage located herein
described will contain evidence of drug trafficking, particularly of marijuana, cocaine base,
and cocaine powder in violation of Title 21, United States Code, Section 841. These fruits,

evidence and instrumentalities of crimes against the United States of America are described

with particularity in Attachment B.

Respectfully submitted,

LALLZEEZ

 

 

 

Christoplie-H. Steger \ Adam Baldwir
United States Magistrate Judge ATF Special Agent
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ATTACHMENT A
DESCRIPTION OF PROPERTY TO BE SEARCHED - 1:17-mj-94

1414 Meadowlark Lane Chattanooga, Tennessee is a one-story structure. The roof is covered
with grayish-black aluminum shingles, and the front, sides, and back of the structure are covered
with gray and cream-colored siding. Affiant has been to the residence. The residence is
associated with Darrell ARMSTRONG.

ARMSTRONG’s residence is the third house on the right side of the street when turning left onto
Meadowlark Lane from East Brainerd Road in Chattanooga, Tennessee. The front porch of
ARMSTRONG’s residence has a concrete step leading up to the porch. Both the step and front
porch are painted green. The porch is also covered by a maroon awning. The front door to the
residence is located in the middle of the porch, and has a white screen door. The carport and
driveway for the residence is located on the right side of the structure when facing the residence
from the street.

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Directions to 1414 Meadowlark Lane Chattanooga, TN

To arrive at 1414 Meadowlark Lane Chattanooga, TN from Interstate 75 North in Chattanooga,
TN, take exit 3A from Interstate 75 North to merge onto East Brainerd Road. Continue on East
Brainerd Road for approximately 1.3 miles, then turn left onto Meadowlark Lane. After
approximately 361 feet, 1414 Meadowlark Lane will be on the right side of the street. The
residence is the third house on the right.

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ATTACHMENT B

1. Books, records, receipts, notes, ledgers, codes, and other papers relating to the
transportation, ordering, purchase and distribution of controlled substances, including, but not
limited to marijuana, cocaine base, and powder cocaine.

2. Books, records, receipts, notes, ledgers, codes, and other papers and electronic records
related to the transportation, ordering, purchasing and distribution of firearms and controlled
substances.

3. Books, records, receipts, bank statements and records, financial statements, loan
applications and records, wills, real estate records, money drafts, letters of credit, money orders and
cashier's checks, safe deposit box keys, records and agreements, and other documents evidencing the
obtaining, secreting, transferring, and/or concealing of assets and the obtaining, secreting,
transferring and/or concealing of currency equivalents.

3. United States currency, precious metals, jewelry, and financial instruments, including
stocks and bonds.

4, Photographs, videotapes, slides, and other visual depictions of the occupants and
owner(s) of 1414 Meadowlark Lane Chattanooga, TN, controlled substances, notes, records, diaries,
journals and papers, and/or assets.

5. Indicia of occupancy, residency, and/or ownership of the premises or other assets
including, but not limited to, utility and telephone bills, cancelled checks, and keys.

6. Firearms, ammunition and items associated with firearms, i.e. magazines, accessories,

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holsters, and gun cases.

7. Sales receipts for items evidencing the expenditure of currency or currency
equivalents.

8. Paraphernalia for packaging, weighing, cutting, and distributing controlled
substances, including but not limited to, scales, plastic bags, trash compactors, and chemical test kits.

9. Documents, books, and papers reflecting names, addresses and/or telephone numbers
pertaining to, but not limited to the occupants and owner(s) of 1414 Meadowlark Lane Chattanooga,
TN.

10. Computer equipment, programs, storage disks, cellular phones and printouts
evidencing the distribution of controlled substances, the expenditure of currency or currency
equivalents and/or indebtedness to and loan repayments to the individual(s) listed in paragraph two

above.

11. Books, records, receipts, notes, ledgers, invoices, bank records, purchase records, cash
receipts and disbursement journals, inventory records, and other records relating to the operation ofa

controlled substances distribution network.

12. Cellular telephones, including the electronic address book, stored memory feature and
the SIM card (or similar type of electronic data storage card) of the cellular telephone.

13. Controlled substances, to include, but not limited to, cocaine base and powder

cocaine.

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14, All of which are fruits, evidence and instrumentalities of crimes against the United
States of America; that is possession and possession with the intent to distribute controlled
substances by the occupants and owner(s) of 1414 Meadowlark Lane Chattanooga, TN, in violation

of Title 21 U.S.C. §§ 841(a)(1) and 846.

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